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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 SID MILLER, et al., on behalf of      §
 themselves and others similarly situated,
                                       §
                                       §
        Plaintiffs,                    §
                                       §
 v.                                    §                Civil Action No. 4:21-cv-0595-O
                                       §
 TOM VILSACK, in his official capacity §
 as Secretary of Agriculture,          §
                                       §
        Defendant,                     §
                                       §
 FEDERATION OF SOUTHERN                §
 COOPERATIVES/LAND ASSISTANCE §
 FUND; NATIONAL BLACK FARMERS §
 ASSOCIATION (NBFA);                   §
 ASSOCIATION OF AMERICAN               §
 INDIAN FARMERS (AAIF),                §
                                       §
        Intervenor Defendants.         §

                                           ORDER

       Before the Court is the Joint Motion for Clarification of Scheduling Order (ECF No. 215),

filed July 7, 2022. The Court construes the request as a motion to amend the scheduling order,

finds good cause to amend, GRANTS the motion, and ORDERS that summary judgment briefs

are due July 18, 2022.

       SO ORDERED on this 8th day of July, 2022.


                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE
